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                        EXHIBIT A
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 Press Corp on behalf of Hillsdale College <today@presscorp.org>
(1) Critical RGA Alert <action@conservativeamerican.net>
(1) Unread Message from the RGA <action@conservativeamerican.net>
(6) GOP Notifications <news@thedailygrindnews.com>
(6) GOP Notifications <newsletter@republicanpost.net>
[1] GOP Senate Alert (via National Victory Action Fund) <info@thefuturegop.com>
[MUST READ CRITICAL UPDATE] via SeanMaloney.com <info@seanmaloney.com>
2 Days to Mobilize Georgia Voters! <founders@turnup.us>
2021 Alerts <news@thegopemail.com>
2021 Alerts via NRSC <info@americasnewsletter.com>
26 Seconds <26secondsdoc@gmail.com>
2ndVote <info@2ndvote.com>
3-Hour-Deadline@nrsc.org <news@thedailygrindnews.com>
500% MATCH <news@thedailygrindnews.com>
500% Match NOW <news@thegopemail.com>
500% Match Secured <info@americasnewsletter.com>
500% Match Secured <info@republicandailywire.com>
500% Match Secured <news@presscorp.org>
5x Matching Unlocked <action@conservativeamerican.net>
600% Match <info@americasnewsletter.com>
600% Match <info@wireupdates.com>
600% Match <news@breaking.welldoitlive.com>
600% Match <news@em8464.washingtonguardian.org>
600% Match = Activated (National Victory Action Fund) <news@thegopemail.com>
600% Match = Activated (National Victory Action Fund) <news@washingtonmatrix.com>
600% Match = Activated (National Victory Action Fund) <newsletter@republicanpost.net>
6X-MATCH Alerts via NRSC <freedom@fightforliberty.net>
6X-MATCH Alerts via NRSC <info@americasnewsletter.com>
700% Match <info@americasnewsletter.com>
700% Match <lz@lifezette.com>
700% MATCH <news@thedailygrindnews.com>
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8X Matching for GOP <news@presscorp.org>
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Best Buy Cyber Flash Sale <BestBuyInfo@emailinfo.bestbuy.com>
Best Buy Cyber Monday <BestBuyInfo@emailinfo.bestbuy.com>
Best Buy Flash Sale <BestBuyInfo@emailinfo.bestbuy.com>
Best Buy Green Monday Sale <BestBuyInfo@emailinfo.bestbuy.com>
Best Buy Last Second Savings Event <BestBuyInfo@emailinfo.bestbuy.com>
Best Buy Outlet <BestBuyOutlet@emailinfo.bestbuy.com>
Best Buy Top Deals <BestBuyInfo@emailinfo.bestbuy.com>
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Calling All Trump Supporters <news@breaking.welldoitlive.com>
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Commissioner George P. Bush <info@wireupdates.com> on behalf of Commissioner George P.Bush <info@wireupdates.com>
Congratulations Card <info@dscc.org>
Congressional Black Caucus PAC <info@cbcpac.org>
Congressman Rodney Davis <news@thegopemail.com>
Congressman Ronny Jackson (TX-13) <action@conservativeamerican.net>
Congresswoman Ashley Hinson <action@conservativeamerican.net>
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Conor Lamb <info@conorlamb.com>
Conor Lamb for Congress <info@conorlamb.com>
Conor Lamb HQ <info@conorlamb.com>
Conservative Action News <team@mail.conservativeactionnews.com>
Conservative News <newsletter@conservativenews.com>
Conservative Partnership <news@ob.wethealliance.com>
Conservative Review <updates@mail.conservativereview.com>
ConservativeFWD <news@e.conservativefwd.com>
Consumer Reports <Consumer_Reports@email.consumerreports.org>
Corey Lewandowski <info@americasnewsletter.com>
Corey Lewandowski <info@wireupdates.com>
Corey Lewandowski <news@thedailygrindnews.com>
Corey R. Lewandowski <info@americasnewsletter.com>
Corey R. Lewandowski <news@breaking.welldoitlive.com>
Coronavirus Update | The Dallas Morning News <newsletters@dallasnews.com>
Cory Booker <info@dscc.org>
COS Team <updates@cosaction.com>
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Case 8:22-cv-00099-DOC-DFM Document 66-1 Filed 02/01/22 Page 9 of 35 Page ID #:587


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Democratic Research Team <info@dscc.org>
Democratic Senate HQ <info@dscc.org>
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DockersÂ® Cyber Monday <dockers@e.dockers.com>
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Tony Gonzales (Congressman TX-23) <news@biden4never.com>
Top Conservatives Needed <news@biden4never.com>
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Top Supporter Alerts <action@electconservativepatriots.net>
Tracy Mitrano <info@tracymitranoforcongress.com>
TRIPLE-MATCH ACTIVE <info@dscc.org>
TRIPLE-MATCH ALERT (via DSCC) <info@dscc.org>
TRIPLE-MATCH ALERT <info@dscc.org>
TRIPLE-MATCH ANNOUNCEMENT <info@dscc.org>
TRIPLE-MATCH ENDING <info@dscc.org>
TRIPLE-MATCH EXPIRING <info@dscc.org>
TRIPLE-MATCH OFFER <info@dscc.org>
Troy <info@oprescuemail.com>
Troy Newman <liberty@religiouslibertydefenders.com>
Troy Newman <life@stand4life.org>
True Patriots Needed <news@mg.conservativeopinions.com>
TRUMP ALERT (Georgia) <info@dscc.org>
Trump Alert (via NRCC) <info@americasnewsletter.com>
Trump Alert (via NRCC) <news@thegopemail.com>
Trump Alert (via NRCC) <newsletter@republicanpost.net>
Trump Alert <info@americasnewsletter.com>
Trump Alert <info@dscc.org>
Trump Approval Poll <info@dscc.org>
Trump Christmas Card <news@thedailygrindnews.com>
Trump Finance <news@editions.washingtonexaminer.com>
Trump Finance <patriot@patriotbundle.com>
Trump Match Alert <info@makingamericathegreatest.com>
Trump Match Alert <patriot@patriotbundle.com>
Trump Patriot Alert <news@thegopemail.com>
Trump Patriots Needed <action@conservativeamerican.net>
Trump Patriots Needed <info@americasnewsletter.com>
Trump Patriots Needed <news@breaking.welldoitlive.com>
Trump Patriots Needed <news@em8464.washingtonguardian.org>
Trump Patriots Needed <news@thegopemail.com>
Trump Product Alert <info@usastatenews.com>
Trump Product Alert <news@thegopemail.com>
Trump Report Card <info@dscc.org>
Trump State Majorities HQ <info@bestamericanow.com>
Trump Supporter Alert (via NRCC) <news@thegopemail.com>
Tyler Blint-Welsh, WSJ <access@interactive.wsj.com>
U.S. Senator Rand Paul <email@rightandfree.com>
Unacceptable (Black Democrats) <info@cbcpac.org>
UNC Center for Civil Rights <law_news@unc.edu>
UNC School of Law <law_news@unc.edu>
United Airlines <UnitedAirlines@news.united.com>
United News & Deals <UnitedAirlines@news.united.com>
Urgent Alert <info@dscc.org>
URGENT ALERT via NRSC <action@conservativeamerican.net>
URGENT ALERT via NRSC <news@thedailygrindnews.com>
Urgent Election Update <info@dcdailyjournal.com>
Urgent Election Update <news@thegopemail.com>
Urgent GOP Alerts (National Victory Action Fund) <info@republicandailywire.com>
Urgent Message from NVAF <news@washingtonmatrix.com>
URGENT NEWS <info@dscc.org>
URGENT NRSC Alert <info@republicanscore.com>
Urgent Polling Alert <info@dscc.org>
Urgent Request (via DSCC) <info@dscc.org>
Urgent Status Update <news@biden4never.com>
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USCCA <uscca@em.usconcealedcarry.com>
USS Midway Museum <social@MIDWAY.ORG>
Vice President Alert (National Victory Action Fund) <news@presscorp.org>
Victims of Communism Memorial Foundation <info@victimsofcommunism.org>
Vote for President Trump <life@stand4life.org>
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WallBuilders <wbcustomerservice@wallbuilders.com>
Washington Guardian <info@gophouseconservatives.com>
Washington Guardian <news@em8464.washingtonguardian.org>
Washington Matrix via Hillsdale College <news@washingtonmatrix.com>
Wayne Christian <wayne@christianfortexas.com>
We Are Great Again PAC <info@dcdailyjournal.com>
Well Versed <drjimgarlow@wellversednews.com>
WellDoItLive <news@breaking.welldoitlive.com>
Wesley Hunt <action@gopvictory.net>
Whole Foods Market <wholefoodsmarket@mail.wholefoodsmarket.com>
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World of Hyatt <hyatt@em.hyatt.com>
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YG Nyghtstorm <eagles@theamericaneagles.net>
YG Nyghtstorm <editor@alert.keepamericagreatnews.com>
YG Nyghtstorm <editor@alerts.republicanstatement.com>
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YG Nyghtstorm <liberty@religiouslibertydefenders.com>
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YG Nyghtstorm <now@readactnews.com>
YG Nyghtstorm <patriot@patriot-central.com>
YG Nyghtstorm <updates@thevote.online>
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